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     3E Properties                                                     Rabo AgriFinance LLC, fka Agrifinance, Inc.
     Easterday Farms Produce, Co.
                                         Franklin, WA                                                          Kent, DE




     See attachment.




                                                                                                                          X

                        X                                                                                                     X




X




X




                            Breach of contract, etc., based on bank's refusal to acknowledge payment.
                                                                             2,000,000.00
                                                                                                                     X




June 21, 2021
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                             Attachment to Civil Cover Sheet

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